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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9
10   UTHERVERSE GAMING LLC,                           Case No. C21-799-RSM-TLF

11                  Plaintiff,                        ORDER ADOPTING REPORT AND
                                                      RECOMMENDATION AT DKT. #370
12                      v.
13
      EPIC GAMES INC.,
14
                    Defendant.
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16          The Court, having reviewed the Report and Recommendation of Judge Theresa L.
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     Fricke, United States Magistrate Judge, objections to the report and recommendation, if any,
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     and the remaining record, does hereby find and ORDER:
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20          (1) the Court adopts the Report and Recommendation, Dkt. #370;

21          (2) Epic Games, Inc.’s motion to exclude Utherverse Gaming, LLC’s damages expert,
22             Michele Riley, Dkt. #309, is DENIED.
23
            DATED this 12th day of January, 2024.
24
25
26                                                     A
                                                       RICARDO S. MARTINEZ
27                                                     UNITED STATES DISTRICT JUDGE
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     ORDER ADOPTING REPORT AND RECOMMENDATION AT DKT. #370 - 1
